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                      IN THE UNITED STATE DISTRICT COURT FOR
                            THE DISTRICT OF NEW JERSEY

 In re:
                                                   Chapter 11
 NATIONAL REALTY INVESTMENT
 ADVISORS, LLC,                                    Case No. 22-14539 (JKS)
                     Debtor.



 AIRN LIQUIDATION TRUST CO., LLC,
                                                   Case No. 2:24-cv-10144-CCC
                                Appellant,
                                                   Honorable Claire C. Cecchi
 v.

 MEDIA EFFECTIVE, LLC,

                                Appellee.



          ORDER ADMITTING ANECA E. LASLEY TO APPEAR PRO HAC VICE

          This matter having been brought before the Court on Motion for an Order Admitting Aneca

E. Lasley to Appear Pro Hac Vice; and the Court having reviewed the moving papers of the

applicant, out-of-state attorney, and considered this matter pursuant to Fed. R. Civ. P. 78, D.N.J.

L. Civ. R. 101.1(c), and good cause having been shown; it is

          ORDERED that Aneca E. Lasley be permitted to appear pro hac vice; provided that

pursuant to D.N.J. L. Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed

promptly by a member of the bar of this Court upon whom all notices, orders and pleadings may

be served, and who shall promptly notify the out-of-state attorney of their receipt. Only an attorney

at law of this Court may file papers, enter appearances for parties, sign stipulations, or sign and

receive payments on judgments, decrees or orders; and it is further
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         ORDERED that Aneca E. Lasley shall arrange with the New Jersey Lawyers’ Fund for

Client Protection for payment of the annual fee, for this year and for any year in which the out-of-

state attorney continues to represent a client in a matter pending in this Court in accordance with

New Jersey Court Rule 1:28-2(a) and D.N.J. L. Civ. R. 101.1(c)(2), said fee to be deposited via

check payable to “Clerk, USDC” within twenty (20) days of the date of the entry of this Order;

and it is further

         ORDERED that Aneca E. Lasley shall make payment of $250.00 to the Clerk of the Court

as required by L. Civ. R. 101.1(c)(3); and it is further

         ORDERED that Aneca E. Lasley shall be bound by the Local Rules of the United States

District Court for the District of New Jersey.

Dated:                         , 2024


                                                 Honorable Claire C. Cecchi
                                                 United States District Judge




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